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 9
                                   UNITED STATES BANKRUPTCY COURT
10
                                    CENTRAL DISTRICT OF CALIFORNIA
11
                                          LOS ANGELES DIVISION
12
13      In re:                                     Case No.: 2:08-bk-20298-BR
14      TOWER PARK PROPERTIES, LLC,                Chapter 11
15                    Debtor.                      Adv. No.: 2:20-ap-01010-BR
16
17      SUNSET COAST HOLDINGS, LLC,                DEFENDANTS’ MOTION TO EXPUNGE LIS
                                                   PENDENS
18                    Plaintiff,
19               v.                                Date: TBD
                                                   Time: TBD
20      HUGHES INVESTMENT                          Place: Courtroom 1668
        PARTNERSHIP LLC, a Delaware limited               Edward Roybal Building
21      liability company; MH HOLDINGS II H,              255 East Temple Street
        LLC, a Delaware limited liability                 Los Angeles, CA 90012
22      company; MH LAND HOLDINGS I-A,
        LLC, a Delaware limited liability
23      company; MH LAND HOLDINGS I-B,
        LLC, a Delaware limited liability
24      company; MH LAND HOLDINGS I-C,
        LLC, a Delaware limited liability
25      company; MH LAND HOLDINGS I-D,
        LLC, a Delaware limited liability
26      company; and DOES 1-20,
27                    Defendants.
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 1             Defendants Hughes Investment Partnership, LLC (“HIP”), MH Holdings II H, LLC (“MH
 2     II,” and, with HIP, the “Lenders”), MH Land Holdings I-A, LLC, MH Land Holdings I-B, LLC,
 3     MH Land Holdings I-C, LLC, and MH Land Holdings I-D, LLC (“Owner”) (collectively,
 4     “Defendants”) move this Court to expunge the lis pendens/notice of pendency of action recorded by
 5     Plaintiff Sunset Coast Holdings, LLC (“Plaintiff”) on 1652 Tower Grove Drive, Beverly Hills, CA
 6     90210 (“Property”).
 7     I.      INTRODUCTION
 8             A lis pendens—that is, a notice of pendency filed in the real property records—is a powerful
 9     tool. It directly affects an owner’s ability to market and sell a property. For that reason, state law
10     creates the remedy of expungement of an improper lis pendens.
11             The lis pendens at issue here was not served or filed in compliance with the requirements of
12     the California Code of Civil Procedure, rendering it void and invalid as to the Defendants. More
13     fundamentally, the lis pendens is based on a complaint that fails to state a claim for relief and thus is
14     subject to a just-filed motion to dismiss this action with prejudice. [Doc. No. 8]. This motion
15     therefore asks for an order of expungement of the lis pendens, plus an award of Defendants’ fees and
16     costs (mandatory under applicable law) incurred in bringing this motion.
17     II.     STATEMENT OF FACTS
18             Defendants respectfully incorporate by reference all of the facts submitted with their Motion
19     to Dismiss Complaint with Prejudice [Doc. No. 8], and rely upon the same in support of this motion.
20     In addition, Defendants further note the following:
21             Following years of litigation in multiple courts and a non-judicial foreclosure process that
22     commenced in January 2019, the Owner acquired the Property at a trustee’s sale on August 20,
23     2019. Bk. Doc. Nos. 709, 716 at 2. A Trustee’s Deed Upon Sale in favor of the Owner was
24     recorded by the foreclosure trustee on August 22, 2019; a copy is attached as Exhibit 1 to the
25     Complaint in this action. See Doc. No. 7, Ex. A at pages 24-31. On December 18, 2019, Plaintiff
26     filed its Complaint in this action in the Los Angeles Superior Court (the “State Court”). Id. at pages
27     8-56.
28             On January 6, 2020, without having served the Complaint or a summons thereon, Plaintiff


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 1     filed a Notice of Pendency of Action (Lis Pendens) (the “Lis Pendens”) in the State Court. See Doc.
 2     No. 7, Ex. A at pages 76-88. The notice included a proof of service asserting that copies of the
 3     notice were sent by regular mail to Owner, to counsel for the Owner, and to counsel for the primary
 4     beneficiary of the Mark Hughes Family Trust. See id. at pages 79-80. No copies of the notice were
 5     received by any of the addressees for more than two weeks. See the concurrently filed Declarations
 6     of Thomas Kenney at ¶¶ 3-4, Julie Samson at ¶¶ 3-5, Eric Rowen at ¶ 4, and Rolf Woolner at ¶¶ 2-3.
 7     When copies were received at two of the addresses, on January 22 and 23, 2020, one of the
 8     envelopes bore a postmark dated January 17, 2020. Samson Decl. at ¶ 3, Ex. A. No notice was ever
 9     received at the third address. Rowen Decl. at ¶ 4.
10            On January 9, 2020, Plaintiff recorded a copy of the Lis Pendens in the Los Angeles County
11     Property records; as recorded, the Lis Pendens was assigned document number 20200036017. See
12     Woolner Decl. at ¶ 4, Ex. D.
13     III.   LEGAL STANDARD
14            California Code of Civil Procedure §§ 405.30 et seq., set forth the procedure, standard, and
15     burden of proof in connection with expunging a lis pendens. “At any time after notice of pendency
16     of action has been recorded, any party . . . with an interest in the real property affected thereby, may
17     apply to the court in which the action is pending to expunge the notice.” Cal. Civ. Proc. Code
18     § 405.30. Because the action is now pending in this Court, a motion to expunge is properly brought
19     here. Id. A lis pendens may be expunged if either “the pleading on which the lis pendens is based
20     does not state a real property claim, [or] if the claimant fails to establish the probable validity of the
21     claim . . . .” Rey Sanchez Investments v. Superior Court, 244 Cal. App. 4th 259, 263 (2016) (citing
22     Cal. Civ. Proc. Code §§ 405.31, 405.32). The claimant (i.e., the person who filed the lis pendens)
23     has the burden of proof under Sections 405.31 and 405.32. Cal. Civ. Proc. Code § 405.30.
24     IV.    ARGUMENT
25            A.      The Lis Pendens Is Void Because Plaintiff Did Not Serve or Record the Lis
26                    Pendens in Compliance with Applicable Law
27            California Code of Civil Procedure § 405.22 sets forth the requirements for serving a lis
28     pendens. “[T]he claimant shall, prior to recordation of the notice [of lis pendens], cause a copy of


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 1     the notice to be mailed, by registered or certified mail, return receipt requested, to all known
 2     addresses of the parties to whom the real property claim is adverse and to all owners of record of the
 3     real property affected by the real property claim as shown by the latest county assessment roll . . . .
 4     Immediately following recordation, a copy of the notice shall also be filed with the court in which
 5     the action is pending.” (Emphasis added.) “Any notice of pendency of action shall be void and
 6     invalid as to any adverse party or owner of record unless the requirements of Section 405.22 are met
 7     for that party or owner . . . .” Cal. Civ. Proc. Code § 405.23 (emphasis added).
 8            Multiple defects with Plaintiff’s alleged service of the Lis Pendens render Plaintiff’s notice
 9     void and invalid as a matter of law. The proof of service attached to the Lis Pendens is dated
10     January 6, 2020 and indicates that the document was served by U.S. mail on that day to recipients at
11     three separate local addresses. See Doc. No. 7, Ex. A at pages 79-80. In fact, it is evident that
12     service was not effected as claimed in the proof of service that was attached to the notice. The
13     Owner did not receive a copy of the Lis Pendens until January 22, 2020—over two weeks after the
14     Lis Pendens was allegedly mailed—and the envelope in which that document arrived is postmarked
15     January 17, 2020, which (perhaps not coincidentally) was the same day that Defendants removed the
16     case to this Court. See Samson Decl. at ¶ 3, Ex. A; see also Doc. No. 1. A second addressee on the
17     proof of service, the Owner’s counsel at Winston & Strawn LLP, did not receive a copy of the Lis
18     Pendens until January 23, 2020—again, more than two weeks after the Lis Pendens was allegedly
19     mailed. See Woolner Decl. at ¶ 2, Ex. C. The third addressee, counsel to the primary beneficiary of
20     the Trust that ultimately controls the Owner, never received a copy of the notice. Rowen Decl. at
21     ¶ 4. These facts give rise to a compelling inference that service by mail on January 6, 2020 did not
22     actually occur.
23            If this transgression were not egregious enough by itself, these facts establish several other
24     defects under Code of Civil Procedure § 405.22. First, it is evident that, notwithstanding the
25     January 6, 2020 proof of service, the mailing of the Lis Pendens (on or about January 17, 2020)
26     occurred long after it was recorded in the County property records on January 9, 2020. Cf. Cal. Civ.
27     Proc. Code § 405.22 (a notice of lis pendens must be mailed before it is recorded). Second, the
28     proof of service reflects, and the envelopes that the Owner and Winston & Strawn received confirm


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 1     (see Samson Decl. at ¶ 3, Ex. A and Woolner Decl. at ¶ 2, Ex. C), that Plaintiff attempted to serve
 2     the Lis Pendens by regular mail; not by registered or certified mail with a return receipt requested as
 3     required by Section 405.22. See also Ng v. US Bank, NA, 2017 WL 951000, at *2 (N.D. Cal. 2017)
 4     (expunging a lis pendens because plaintiff served the lis pendens by regular mail, rather than
 5     registered or certified mail). Third, Section 405.22 states that “[i]mmediately following” the
 6     recording of a lis pendens, the claimant must file a copy of the lis pendens with “the court in which
 7     the action is pending.” The State Court docket reveals that Plaintiff filed a copy of the Lis Pendens
 8     with the State Court on January 6, 2020 [Doc. No. 7-1 at 3, 73], but, as indicated above, the Lis
 9     Pendens was not recorded until January 9, 2020. Woolner Decl. at ¶ 4, Ex. D.
10               Because Plaintiff has failed to comply with virtually any portion of Code of Civil Procedure
11     § 405.22, the Lis Pendens is “void and invalid” as to Defendants. See Code of Civil Procedure
12     § 405.23.
13               B.     Even Setting Aside the Service and Recording Defects, the Lis Pendens Must Be
14                      Expunged Because the Complaint Does Not State Any Claims—Real Property or
15                      Otherwise—and Plaintiff Cannot Demonstrate the Probable Validity of those
16                      Claims
17               A “real property claim” is “the cause or causes of action in a pleading which would, if
18     meritorious, affect (a) title to, or the right to possession of, specific real property . . . .” Cal. Civ.
19     Proc. Code § 405.4. “If the pleading filed by the claimant does not properly plead a real property
20     claim, the lis pendens must be expunged upon motion under CCP 405.31.” Kirkeby v. Superior
21     Court, 33 Cal. 4th 642, 647 (2004). “Probable validity . . . means that it is more likely than not that
22     the claimant will obtain a judgment against the defendant on the claim.” Cal. Civ. Proc. Code
23     § 405.3. The court is required to expunge the lis pendens if the claimant does not establish “by a
24     preponderance of the evidence the probable validity of the real property claim.” Kirkeby, 33 Cal. 4th
25     at 651.
26               As explained in Defendants’ just-filed motion to dismiss, the claims for relief in the
27     Complaint lack any merit and the Complaint should be dismissed with prejudice. Rather than
28     burden the record by repeating them in full here, Defendants respectfully incorporate by reference


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 1     the facts and arguments contained in the motion to dismiss [Doc. No. 8]. In summary: Plaintiff’s
 2     claims conflict with the unambiguous and controlling terms of both the Plan in this case and the
 3     related intercreditor agreement. Plaintiff’s claims rest on a right of redemption under a provision in
 4     the Plan relating to a “Court Deed Option” that was triggered only by successful exercise of that
 5     option—and the Court Deed Option was never exercised. The property was obtained by the Owner
 6     at a trustee’s sale as part of a non-judicial foreclosure. (In fact, the Court Deed Option could not be
 7     exercised after the debtor in this case improperly transferred the real property to Plaintiff’s assignor,
 8     Secured Capital Partners, LLC, in 2016—and that transfer itself had the effect of extinguishing any
 9     redemption right through a merger of title in SCP.)
10            It is doubtful that Plaintiff’s claims even qualify as “real property claims.” Plaintiff’s request
11     for a declaration that it has the right to purchase the Property under the right of redemption is based
12     entirely on allegations that the Defendants breached the Agreement and pursued foreclosure of the
13     Property in bad faith. As explained in the motion to dismiss, the claims in this action are
14     contradicted by the Plan or the Agreement, so the request for declaratory relief must fail.
15            Given the showing in the motion to dismiss that the Complaint does not state any claims for
16     relief and that it would be futile to permit Plaintiff to try to amend, it follows for purposes of this
17     motion to expunge that Plaintiff cannot demonstrate the probably validity of its claims in the
18     litigation. When Plaintiff’s action is dismissed with prejudice, as it should be, the Lis Pendens
19     obviously must be expunged.
20            C.      Defendants Are Entitled to the Attorneys’ Fees and Costs They Have Incurred in
21                    Bringing this Motion
22            Section 405.38 provides for the mandatory award of attorneys’ fees on a successful motion to
23     expunge: “The court shall direct that the party prevailing on any motion under this chapter be
24     awarded the reasonable attorney’s fees and costs of making or opposing the motion unless the court
25     finds that the other party acted with substantial justification or that other circumstances make the
26     imposition of attorney's fees and costs unjust.” Cal. Civ. Proc. Code § 405.38 (emphasis added).
27            Plaintiff simply cannot demonstrate that it was substantially justified in recording the Lis
28     Pendens. First, Plaintiff did not comply with the statutory requirements for proper service that must


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 1     precede filing of the notice and, to date, still has not properly served all recipients listed in the proof
 2     of service in the manner required by the statute. Second, for the reasons discussed in Defendants’
 3     motion to dismiss, Plaintiff lacks any sort of meritorious real property claim, and the allegations in
 4     the Complaint are contradicted by the law, the terms of the Plan, and the agreement on which the
 5     Complaint is based. Plaintiff’s actions are another step in what has been a long line of bad-faith
 6     tactics by Tower Park, SCP, and their principals 1—this time by an assignee of SCP (see Compl. ¶ 7).
 7     Although imposing mandatory attorneys’ fees and costs on Plaintiff may not stop those parties’
 8     misbehavior, it shows that there will be consequences.
 9             Defendants are entitled to the attorneys’ fees and costs they have incurred in bringing this
10     motion. Assuming that the Court agrees, Defendants propose to present an application showing their
11     fees and costs following the hearing on the merits of this motion, so that the amount of fees can be
12     determined after preparation of any reply papers that may be necessary and appearance at the
13     hearing.
14     V.      CONCLUSION
15             For all of the foregoing reasons, this Court must expunge the Lis Pendens and award
16     Defendants any and all attorneys’ fees and costs they have incurred in bringing this motion, in an
17     amount to be determined following a hearing on the merits of this motion.
18
19     Dated: January 31, 2020                         WINSTON & STRAWN LLP
20
                                                       By: /s/ Rolf S. Woolner
21                                                          Rolf S. Woolner
22                                                          Counsel for Defendants

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25
       1
26       This Court has already noted—in the presence of Plaintiff’s counsel in the course of his
       representation of Tower Park—that Tower Park, SCP, and their principals “have abused the legal
27     process beyond recognition” and “would virtually do anything and are not afraid of any
       consequences.” See Bankruptcy Doc. No. 712 (August 19, 2019 transcript) at 9:22-24; 21:19-21;
28     36:23-24.


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